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8
9                               UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                )      Criminal No. CR 05-00167 WHA
                                              )
13           Plaintiff,                       )
                                              )
14                                            )      STIPULATION AND [PROPOSED]
                                              )      ORDER EXCLUDING TIME
15      v.                                    )
                                              )
16                                            )
                                              )
17   PARIS RAGLAND,                           )
          a/k/a “P-Diddy,”                    )
18                                            )
             Defendant.                       )
19                                            )
20
21             The above-captioned matter came before the Court on December 6, 2005, for
22   status. The defendant, PARIS RAGLAND, who was present and was represented by
23   Robert Waggener, Esq., and the government was represented by Richard J. Cutler,
24   Assistant United States Attorney. The case was then continued to join the co-defendants’
25   case currently set for status on March 29, 2006, at 2:00 p.m. The Court made a finding on
26   the record that the time between December 6, 2005, and March 29, 2006 should be
27   excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(3)(B)(8) and Federal Rule of
28
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME
     CR 05-00167 WHA
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1    Criminal Procedure 5.1, because the ends of justice served by taking such action
2    outweighed the best interest of the public and the defendant in a speedy trial. That
3    finding was based on the complexity of the case, the defendant’s request for additional
4    time to review an extensive amount of discovery material provided by the government, as
5    well as time to insure the effective preparation of her counsel. Counsel for the defendant
6    indicated a need for additional time to adequately prepare the matter, taking into account
7    the exercise of due diligence. That finding was made pursuant to 18 U.S.C. §§
8    3161(h)(8)(A) and (B)(ii).
9           The parties hereby agree to and request that the case be continued until March 29,
10   2006 at 2:00 p.m. and that an exclusion of time until that date be granted. The parties
11   agree and stipulate that the additional time is appropriate and necessary under Title 18,
12   United States Code, Sections 3161(h)(8)(A) and (B)(ii), because the ends of justice
13   served by this continuance outweigh the best interest of the public and the defendant in a
14   speedy trial.
15
16   DATED: 12/6/05                                   /S/
                                               ROBERT WAGGENER, ESQ.,
17                                             Counsel for DEFENDANT
                                               PARIS RAGLAND
18
19
20   DATED: 12/6/05                                     /S/
                                               RICHARD J. CUTLER
21                                             Assistant United States Attorney
                                                                         S DISTRICT
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23   SO ORDERED.                                                    IT IS S
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25   DATED: December 8, 2005                                                       R

                                               WILLIAM H. ALSUP
26                                             UNITED STATES DISTRICT JUDGE
27
28
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME
     CR 05-00167 WHA                              2
